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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



JOHN STANISE,                                          CASE No.: 1:20-cv-02769-VSB
                       Plaintiffs,
                                                       [PROPOSED] ORDER FOR A
       v.
                                                       TEMPORARY RESTRAINING ORDER
VICTOR LORIA,                                          AND SETTING A HEARING DATE TO
                       Defendant.                      ADJUDICATE MOVANT’S
                                                       APPLICATION FOR A PRELIMINARY
                                                       INJUNCTION AGAINST PLAINTIFF
                                                       JOHN STANISE

VERNON S. BRODERICK, United States District Court Judge:

       WHEREAS, Defendant (the “Movant”) has moved by Notice of Motion supported by

Movant’s Declaration for an order, pursuant to Fed. R. Civ. P. 65(a)(1) and (b), temporarily and

preliminarily enjoining Plaintiff, John Stanise (“Stanise”), from:

       1)      Re-opening Lorstan Pharmaceutical LLC’s (“Lorstan”) compounding labs

without the medical oversight and guidance of its Chief Medical Officer (“CMO”) – Movant

Loria; and

       2)      Blocking Movant Loria’s right to re-open his temporarily shuttered New York

medical office; and

       3)      Blocking Movant Loria’s ability to become a Lorstan-licensee physician and open

other locations for his separate medical practice, Loria Medical; and

       4)      Instructing Lorstan’s employees – including himself – not to cooperate with

Movant Loria in Movant Loria’s capacity as majority owner and CMO of Lorstan, until such

time as this Court or a Transferee Court in the Southern District of Florida has issued a ruling

determining the parties’ respective rights in accordance with the terms of the Lorstan Amended

Operating Agreement, if determined to be enforceable.

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       WHEREAS, pursuant to Fed. R. Civ. P. 65(b) and this Court’s inherent equitable powers,

this Court finds that Movant would be irreparably harmed if Stanise were to:

       1)      Re-open Lorstan’s compounding labs without the medical oversight and guidance

of its CMO – Movant Loria – as potential patient harm could occur and Movant Loria’s medical

license and reputation in the medical community could be put at substantial risk; and

       2)      Block Movant Loria’s right to re-open his temporarily shuttered New York office,

which pre-dated the creation of Lorstan and which was operated until 2018 – two years after

Lorstan’s creation; and

       3)      Block Movant Loria’s ability to become a Lorstan-licensee physician and open

other locations for his separate medical practice, Loria Medical, which would benefit both

Lorstan and Stanise and place Movant Loria (the majority owner of Lorstan), in the same

position as other Lorstan licensee-physicians; and

       4)      Instruct Lorstan’s employees – including himself – not to cooperate with Movant

Loria in Movant Loria’s capacity as majority owner and CMO of Lorstan, until such time as this

Court or a Transferee Court in the Southern District of Florida has issued a ruling determining

the parties’ respective rights in accordance with the terms of the Lorstan Amended Operating

Agreement, if determined to be enforceable.

       Upon consideration of Movant’s motion and supporting papers, all responsive

submissions thereto, and all other materials submitted to the Court, it is hereby:

       ORDERED, that Stanise is temporarily restrained from:

       1)      Interfering with Movant Loria’s duties, responsibilities, and rights as CMO of

Lorstan, such that Movant Loria shall be granted full access to the Lorstan compounding labs

and oversight rights over the Lorstan labs’ compounding operations; and



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       2)      Interfering with Movant Loria’s planned re-opening of his New York Loria

Medical office, which Movant Loria is expressly permitted to do until such time that a Court

rules otherwise; and

       3)      Interfering with Movant Loria’s right to become a Lorstan-licensee physician and

open other medical office locations as such licensee, which Movant Loria is expressly permitted

to do until such time that a Court rules otherwise; and

       4)      Interfering with any Lorstan employee or contractor’s duty – including Stanise’s

own duty – to cooperate with Movant Loria in Movant Loria’s capacity as majority owner and

CMO of Lorstan, until such time that a ruling can be made on Movant Loria’s application for a

preliminary injunction during the pendency of this litigation, with such hearing to be held on

_________, 2020.

       ORDERED, that this Court shall retain jurisdiction to monitor and enforce this Order,

and to modify and amend it as justice requires to achieve its equitable purposes.

Dated: New York, New York
       May ___, 2020
                                                            SO ORDERED.



                                                            _____________________________

                                                            VERNON S. BRODERICK
                                                            United States District Court Judge
                                                            for the Southern District of New
                                                            York




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